      CASE 0:12-cr-00026-JRT-JSM Document 1952 Filed 12/05/19 Page 1 of 2



                          UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,
             Plaintiff,                        Case No. 12-00026(1)(JRT/JSM)


vs.                                            MOTION TO VACATE CONVICTION


WAKINYAN WAKAN MCARTHUR,
              Defendant.
      __________________________________________________________________

        COMES NOW Defendant, WAKINYAN WAKAN MCARTHUR, by and through

the undersigned counsel, and pursuant to Federal Rules of Criminal Procedure 36 and 47

hereby moves to vacate his conviction on Count 2 of the Superseding Indictment on the

grounds of actual innocence. Defendant is convicted in Count 2 of the offense of

conspiracy to use and carry firearms during and in relation to a crime of violence in

violation of 18 U.S.C. § 924(o). The predicate “crime of violence” alleged in Count 2 is

conspiracy to participate in racketeering activity in violation of 18 U.S.C. § 1962(d) as

alleged in Count 1 of the Superseding Indictment. (ECF No. 1060-4). The RICO

conspiracy was only a “crime of violence” under the “residual clause” of 18 U.S.C.

§924(c)(3)(B). Under United States v. Davis, 139 S.Ct. 2319, 2336 (2019);

§924(c)(3)(B)’s residual clause is unconstitutionally vague. Under United States v.

McArthur, 784 Fed. Appx. 459 (8th Cir. 2019); the RICO conspiracy is not a “crime of

violence” under §924(c). Because the predicate offense to the § 924(o) conspiracy is not
    CASE 0:12-cr-00026-JRT-JSM Document 1952 Filed 12/05/19 Page 2 of 2



a crime of violence, McArthur’s conviction on Count 2 is invalid and Defendant’s

conviction on this count should be vacated.

      This motion is based upon the court file and all records and proceedings herein,

upon the attached memorandum of law and upon the argument of counsel at the hearing

on this motion.

      Dated this 5th day of December, 2019.

                                  Respectfully submitted,


                                  GOETZ & ECKLAND P.A.

                               By: __s/Frederick J. Goetz __________
                                  FREDERICK J. GOETZ
                                 Attorney Registration No. 185425
                                 Banks Building
                                 615 First Avenue N.E., Suite 425
                                 Minneapolis, MN 55413
                                 (612) 874-1552

                                  ATTORNEY FOR DEFENDANT




                                              2
